          Case 4:17-cv-00272-RCC Document 23 Filed 06/06/18 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Paula Kitchen,                                    No. CV-17-00272-TUC-RCC
10                  Plaintiff,                         ORDER
11   v.
12   Concord Servicing Company,
13                  Defendant.
14
15            Pending before the Court is a joint stipulation to dismiss the case with prejudice.

16   Doc. 22. Good cause appearing;

17            IT IS HEREBY ORDERED that the stipulation is granted. This action is

18   dismissed with prejudice. Each party shall bear their own costs and fees.

19            IT IS FURTHER ORDERED that the Clerk of Court is directed to close the

20   case.
21            Dated this 5th day of June, 2018.
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